     Case 2:09-cr-00355-KJD-LRL           Document 146     Filed 10/01/10     Page 1 of 1
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                                                                   U,s.DISTRICT COURT
     '                                                             DISTRICT OF NEVADA                  I
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 6                             UNITED STATES DISTRICT COURT                                            !
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 7                                        D IST R IC T O F N EV A D A
 8 UNITED STATESOFAM ERICA,                            )                                               l
                                                       )                                               '
 9                           Plaintiff,                )                                               '
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l0              V.                                     )           2209-CR-355-KJD (l-RL)              !
                                                       )
11 CRAIG HUBER,                                        )
                                                       )                                               I
I2                           oetkndant.                )                                               !
                                                                                                       l
13               FINAL ORDER O F FORFEITURE AS TO DEFENDANT CRAIG HUBER                                i
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14              OnM ay19,2010(Docket//93),thisCourtenteredaPreliminaryOrderofl/orfeiturepursuant
                                                                                                       I

15 toFed.R.Crim.P.32.2(b)(1)and(2(
                                 );Title21,UnitedStatesCode,Section853(a)(1),(a)(2),and(p),
16 fortkitingpropertyotdefendantCRAIG HUBER totheUnited StatesofAmericak                                .
l7          IT IS H EREBY ORD ERED ADJUDGED,AND DECREED pursuanfto Fed                                  I
                                            ,                                               . R.Crim .P I
l8       32.2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminazyOrderofForfeiture I

19       is t'inalas to defendantCRA IG IIUBER.

20              DA TED this l       day of                     ,   201l.
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